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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                        LUFKIN DIVISION

LEWIS-JAY PORTER                                  §

VS.                                               §    CIVIL ACTION NO. 9:17-CV-75

STATE OF TEXAS                                    §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

       Plaintiff Lewis-Jay Porter, an inmate confined at the Lynaugh Unit of the Texas Department

of Criminal Justice, Correctional Institutions Division (“TDCJ-CID”), proceeding pro se, filed this

civil rights action against the State of Texas. Plaintiff contends that his filings with the State of

Texas pursuant to the Uniform Commercial Code compel his release from prison.

       The above-styled action was referred to the undersigned magistrate judge pursuant to 28

U.S.C. § 636 and the Local Rules for the Assignment of Duties to the United States Magistrate Judge

for findings of fact, conclusions of law, and recommendations for the disposition of the case.

                                             Discussion

       A civil rights action is the appropriate means for recovering damages resulting from illegal

administrative procedures or the conditions of confinement. Richardson v. Fleming, 651 F.2d 366,

372 (5th Cir. 1981). In this case, plaintiff is not seeking damages; he is seeking release from prison

based on inapplicable legal theories. A petition for writ of habeas corpus is the appropriate means

for a prisoner to challenge the fact or duration of his confinement. Preiser v. Rodriguez, 411 U.S.

475, 500 (1973); Jackson v. Johnson, 475 F.3d 261, 263 n. 2 (5th Cir. 2007); Cook v. TDCJ
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Transitional Planning Dep’t, 37 F.3d 166, 168 (5th Cir. 1994). Therefore, this filing should be

construed as a petition for writ of habeas corpus, filed pursuant to 28 U.S.C. § 2254.

       Plaintiff previously filed a federal habeas petition challenging this conviction. That petition

was denied. Porter v. Director, Cause No. 9:14-CV-142 (E.D. Tex. Sept. 13, 2016). Title 28 U.S.C.

§ 2244(b) requires individuals who wish to file a second or successive habeas corpus petition to

obtain authorization from the appropriate appellate court before filing a petition. 28 U.S.C.

§ 2244(b)(3). The district court must dismiss a claim presented in a second or successive petition

if the claim was presented in a prior habeas petition. 28 U.S.C. § 2244(b)(1).

       There is no question that this is a successive petition. However, plaintiff failed to provide

this court with an order from the Fifth Circuit authorizing consideration of the petition. As a result,

the petition should be dismissed without prejudice to plaintiff’s ability to refile if he obtains the

necessary order from the Fifth Circuit Court of Appeals.

                                         Recommendation

       This action should be dismissed without prejudice.

                                             Objections

       Within fourteen days after receipt of the magistrate judge’s report, any party may serve and

file written objections to the findings of facts, conclusions of law and recommendations of the

magistrate judge. 28 U.S.C. § 636(b)(1)(C).

       Failure to file written objections to the proposed findings of facts, conclusions of law and

recommendations contained within this report within fourteen days after service shall bar an

aggrieved party from de novo review by the district court of the proposed findings, conclusions and

recommendations and from appellate review of factual findings and legal conclusions accepted by


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the district court except on grounds of plain error. Douglass v. United Services Automobile Ass’n,

79 F.3d 1415, 1417 (5th Cir. 1996) (en banc); 28 U.S.C. § 636(b)(1); FED. R. CIV. P. 72.


               SIGNED this the 10th day of May, 2017.




                                                    ____________________________________
                                                    KEITH F. GIBLIN
                                                    UNITED STATES MAGISTRATE JUDGE




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